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                                           1                      IN THE UNITED STATES DISTRICT COURT

                                           2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                           4   DAVID OSTER, et al.,                               No. C 09-4668 CW
                                           5              Plaintiffs,                             ORDER DIRECTING
                                                                                                  PARTIES TO FILE A
                                           6        v.                                            STATUS REPORT
                                           7   WILL LIGHTBOURNE, et al.,
                                           8             Defendants.
                                               ________________________________/
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                                          10        On March 14, 2013, the Ninth Circuit granted the parties’
For the Northern District of California




                                          11   joint motion to stay the appeal in this case “pending the district
    United States District Court




                                          12   court’s approval of their settlement.”        9th Cir. Case No. 12-
                                          13   15366, Docket No. 58.     The parties are therefore directed to file
                                          14   within seven days of this order a joint status report or a
                                          15   stipulation setting a briefing schedule for their motion for
                                          16   preliminary approval of the settlement.
                                          17        IT IS SO ORDERED.
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                                          19   Dated: 3/20/2013                       CLAUDIA WILKEN
                                                                                      United States District Judge
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